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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    LINDA C. HARTER, #179741
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
     P: 916-498-5700/F: 916-498-5710
5    Linda_Harter@fd.org
6    Attorney for Defendant
     CARLOS ORTIZ
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )    NO. 2:23-mj-0017 JDP
                                                     )
12                           Plaintiff,              )    STIPULATION AND PROPOSED ORDER
                                                     )    TO VACATE STATUS CONFERENCE AND
13          v.                                       )    SET FOR TRIAL
                                                     )
14   CARLOS ORTIZ                                    )
                                                     )    DATE: June 12, 2023
15                           Defendant.              )    TIME: 10:00 am
                                                     )    JUDGE: JEREMY D. PETERSON
16                                                   )
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             IT IS HEREBY STIPULATED by and between the parties hereto through their
18
     respective counsel, that the status conference scheduled for June 12, 2023, at 10:00 a.m. be
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     vacated, and that a bench trial be set for August 8, 2023 at 9:30 am. The parties estimate one
20
     day of trial in this case.
21
22
     Dated: June 8, 2023                          Respectfully submitted,
23
24                                                HEATHER E. WILLIAMS
                                                  Federal Defender
25
                                                  /s/ Linda C. Harter
26                                                LINDA C. HARTER
                                                  Assistant Federal Defender
27                                                Attorney for Defendant
28

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1                                      PHILLIP A. TALBERT
                                       United States Attorney
2
3    Dated: June 8, 2023                /s/ Justin Lee
                                       JUSTIN LEE
4                                      Assistant United States Attorney
5                                      Attorney for Plaintiff

6
7    IT IS SO ORDERED.

8
     Dated: June 9, 2023
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10
                                       JEREMY D. PETERSON
                                                    PE
                                                    PETE
                                                      T RS
                                                         R ON
11                                     United States Magistrate Judge

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